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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


Amanda Caton, et al.,                             :
                                                  :
               Plaintiffs,                        :
                                                  :   Case Number: 1:22cv345
       vs.                                        :
                                                  :   Judge Susan J. Dlott
Jacob Salamon, et al.,                            :
                                                  :
               Defendants.                        :

                                              ORDER

       This case came on for a preliminary pretrial conference pursuant to Fed. R. Civ. P. 16 at

2:00 p.m. on October 12, 2022. All parties of record participated by their trial attorneys of record,

Zachary Gottesman and Christopher Wiest on behalf of the plaintiff and Matt Byrnes on behalf of

the defendants. Based upon such conference, the Court hereby sets the following schedule:

1.     Dates to exchange lists of expert witnesses
       and furnish copies of expert reports
              Party with burden of proof:                                    11/1/23
              Opponent:                                                      1/5/24


2.     Discovery Cutoff                                                      3/29/24
       Fact Discovery Cutoff                                                 10/2/23

3.     Settlement Procedures

       A.      Plaintiff to make demand three weeks before
       the settlement conference.

       B.      Defendant to respond to demand two weeks
       before the settlement conference.

       C.      Each counsel must prepare and submit a letter
       to the Court with the status of any settlement
       negotiations to date. These letters need not be
       filed with the Clerk’s Office nor exchanged
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       with opposing counsel. Letters to be submitted
       one week before the settlement conference.

       D.      Settlement Conference at

Attorneys attending settlement conference must bring the party or a principal with full settlement
authority. By full settlement authority, the Court means the person or persons attending must have
authority independently to make necessary financial and settlement decisions. Failure to follow
this requirement will result in sanctions.


4.     Last date to file dispositive motions not directed to
       the pleadings. (E.g. summary judgment motions)                        5/13/24

       Memoranda contra due                                                  6/3/24

       Reply memoranda due                                                  6/17/24

(These dates apply to any summary judgment motions filed on the last date allowed; dispositive
motions filed earlier in the case shall be treated in accordance with S.D. Ohio L. R. 7.2).


5.     Final Pretrial Conference at 10:00 a.m.                              10/8/24


6.     Trial to a Jury for 5-7 days
       commencing at 9:30 a.m.                                               11/4/24

       In accordance with S.D. Ohio Civ. R. 37.1, objections, motions, applications and requests

to discovery shall not be filed with the Court by any party, unless counsel has first exhausted,

among themselves, all extrajudicial means of resolving their differences. After said means are

exhausted, then in lieu of filing a motion under Rules 26 and 37 of the Federal Rules of Civil

Procedure, counsel must notify the Court seeking a conference.

       All discovery shall be requested by the discovery date. Parties who undertake to extend

discovery by agreement beyond the cutoff date without Court approval do so at the risk the Court

may not permit its completion prior to trial. Counsel shall keep the Court currently advised of the

status of discovery in this case and promptly bring to the Court’s attention any discovery disputes
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requiring court resolution.

       This Court has an additional condition to S.D. Ohio Civ. R. 7.2(a)(3). Any brief and/or

memoranda in support of or in opposition to any motion in this Court shall not exceed twenty

pages without first obtaining leave of Court. A motion for leave must set forth the reasons excess

pages are required and the number of pages sought. If leave of Court is granted, counsel must

include: (1) a table of contents indicating the main sections of the memorandum, the arguments

made in each section, and the pages on which each section and subsection may be found; and (2)

a succinct, clear, and accurate summary not to exceed five pages of the principal arguments made

and citations to the primary authorities relied upon in the memorandum. All briefs and

memoranda shall comply with the formal requirements of S.D. Ohio Civ. R. 7.2. In an effort to

encourage settlements, the Court may schedule a settlement conference at any time. Counsel also

may request that a conference be scheduled at any time when it appears such a conference would

be fruitful. Each counsel will be required to prepare and submit a letter no longer than five pages

to the Court one week prior to the conference with a synopsis of the case and the status of any

settlement negotiations to date. These letters are ex parte and should not be filed with the Clerk’s

Office nor exchanged with opposing counsel.

       The attention of counsel is called to amendments to the Federal Rules of Civil Procedure

which became effective December 1, 1993, particularly with respect to expert reports.


       IT IS SO ORDERED.




                                                         s/Susan J. Dlott
                                                      Susan J. Dlott
                                                      United States District Court
